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 1                         UNITED STATES DISTRICT COURT
 2
                                 DISTRICT OF ARIZONA
 3
 4   Ralph T. Reilly, an individual,        )    Case No. 2:18-cv-03775-PHX-MTL
                                            )    (Honorable Michael T. Liburdi)
 5                               Plaintiff, )
 6                                          )
             vs.                            )    JOINT PROPOSED FINAL
 7                                          )    PRETRIAL ORDER
 8   Steve Wozniak, an individual; Woz U )
     Education LLC, an Arizona limited      )
 9
     liability company; Woz U Education     )
10   Holdings, LLC, a Delaware limited      )
11   liability company; Southern Careers    )
     Institute, Inc., a Texas corporation,  )
12                                          )
13                               Defendants )
     ________________________________ )
14
15         Following is the Joint Proposed Final Pretrial Order to be considered at the

16   Final Pretrial Conference in this case set for Friday, May 21, 2021 at 10:00 AM.

17   A.    Trial Counsel

18         Provide the mailing address, email address, office and cell phone number,

19   and fax number of trial counsel for:
20         Plaintiff(s):
21
                  Raymond J. Markovich
22
                  Admitted pro hac vice
23                U.S. LAW GROUP
24                427 N. Canon Drive
                  Beverly Hills, CA 90210
25                Mob: 323-401-8032
26                Tel: 212-634-4545
                  Fax: 212-634-4546
27                Email: ray@uslawgroupinc.com
28
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 1         Defendant(s):
                Aaron M. Finter
 2              Schern Richardson Finter, PLC
 3              1640 S. Stapley Drive
                Suite 132, Mesa, Arizona 85204
 4
                aaron@srflawfirm.com
 5              480-632-1929 (office)
 6
                480-652-9190 (cell)

 7                John C. Sarager
 8                Schern Richardson Finter, PLC
                  1640 S. Stapley Drive
 9                Suite 132, Mesa, Arizona 85204
10                jcs@srflawfirm.com
                  480-632-1929 (office)
11
                  623-229-9716 (cell)
12
13   B.    Statement of Jurisdiction

14         1.     This Court has original federal question jurisdiction over this action

15   pursuant to 28 U.S.C. §1331 because this action arises under the Copyright Act of
16   1976 as amended, 28 U.S.C. §501.
17         2.     This Court also has jurisdiction by reason of complete diversity of
18   citizenship pursuant to 28 U.S.C. §1332(a)(1) because Reilly, on the one hand, and
19   each of the Defendants on the other hand, are citizens of different states and because
20   the amount in controversy is greater than $75,000.
21         3.     This Court has personal jurisdiction over each Defendant by reason of
22   each Defendant’s affirmative acts in the State of Arizona including inter alia the
23   formation of Woz Arizona, and the marketing and publicity of Woz U pursuant to
24   the laws of the State of Arizona.
25         Venue in this District is proper pursuant to 28 U.S.C. §1391(b) in that some
26
           of the Defendants reside and maintain their primary places of business in this
27
           judicial district, a substantial part of the events and omissions giving rise to
28



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 1             the claims occurred in this judicial district, and because the Defendants are

 2             subject to this Court's personal jurisdiction as each has conducted business
 3             from, resides in and/or has sufficient minimum contacts with this judicial
 4             district such that the ends of justice will be met by laying venue in this district.
 5        4.        Stipulations and Uncontested Facts and Law
 6             The following material facts are admitted by the parties and require no
 7   proof:
 8             1.     Plaintiff Ralph Reilly (“Reilly”) is an individual citizen of the State of
 9   Connecticut.
10             2.     Defendant Steve Wozniak (“Woz”) is an individual citizen of the State
11   of California.
12             3.     Defendants Woz U Education Holdings LLC (“Woz Delaware”) and
13   WOZ U Education LLC (“Woz Arizona”) are limited liability companies organized,
14
     respectively, under the laws of Delaware and Arizona, with their principal places of
15
     business in the State of Arizona.
16
               4.     Defendant Southern Careers Institute Inc.(“SCI”) is a corporation
17
     organized under the laws of the State of Texas with its principal place of business in
18
     the State of Texas.
19
               5.     Reilly applied for and obtained copyright protection under the
20
     Copyright Act of 1976, as amended., for graphic images and photographs and
21
     tangible expressions created by Reilly. (“Reilly Copyrighted Works”).
22
23
               The following material facts, although not admitted, will not be contested at
24
25
     trial by evidence to the contrary:

26                    None.

27   D.        Contested Issues of Fact and Law
28             1.      The following are the material issues of fact to be tried and decided:



                                                    3
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 1          Issue No. 1: Whether the Defendants and each of them had access to Reilly’s

 2   Copyrighted Work?
 3          Plaintiff: Defendants have conceded that Defendant Wozniak had access to
 4   Reilly’s Copyrighted Work and as a result all Defendants as direct, vicarious or
 5   contributory infringers.
 6          Defendants: There is no evidence that any of the Defendants viewed, copied,
 7   or distributed Reilly’s Copyrighted Work.
 8          Issue No. 2: Whether Defendants copied original elements from Reilly’s
 9   Copyrighted Work?
10          Plaintiff: Defendants copied original elements from Reilly’s Copyrighted
11   Work as shown in the marketing and publicity materials for Woz U.
12          Defendants: There is no evidence that Defendants copied any original
13   elements from Reilly’s Copyrighted Work, the marketing and branding for WozU
14
     was performed by an outside vender hired by Defendant WozU Education Holdings,
15
     LLC.
16
            Issue No. 3: Whether Reilly’s Copyrighted Work is substantially similar to
17
     written and pictorial materials used by Defendants?
18
            Plaintiff: Reilly’s Copyrighted Work is substantially similar to written and
19
     pictorial materials used by Defendants.
20
            Defendant: There is no substantial similarity between the website created
21
     Plaintiff and the website and logo utilized by Defendant WozU Education Holdings,
22
     LLC.
23
24
            Issue No. 4: Whether the website for WozU is the product of independent

25   creation.

26          Plaintiff: The website for WozU is not the product of independent creation
27   but copied from Reilly’s Copyrighted Work.
28          Defendants: Defendant WozU Education Holdings, LLC did not create its


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 1   own website. Rather, it sent out a request for proposal to multiple companies and

 2   ultimately hired a company that performed work related to the branding and
 3   marketing of WozU, which included the creation of its website and logo. There is
 4   no evidence that the Plaintiff’s Copyrighted Work was provided to or viewed by the
 5   company that created the website and logo for WozU.
 6         Issue No. 5: Whether the Plaintiff is entitled to recover profits attributable to
 7   the alleged infringement or statutory damages?
 8         Plaintiff: Plaintiff is entitled to recover profits attributable to the alleged
 9   infringement or statutory damages. Defendants own documents produced in
10   discovery and deposition testimony prove Plaintiff’s damages.
11         Defendants: Defendants incorporate the arguments raised in their Motion In
12   Limine No. 1. Additionally, the Defendants argue that the Plaintiff has failed to
13   present any documents, witnesses or expert witnesses to establish any alleged
14
     damages.
15
           Issue No. 6: Whether each of the Defendants are contributory infringers of
16
     Reilly’s Copyrighted Work or vicariously liable for Defendants’ copyright
17
     infringements?
18
           Plaintiff: Each of the Defendants are direct or contributory infringers of
19
     Reilly’s Copyrighted Work or are vicariously liable for Defendants’ copyright
20
     infringements.
21
           Defendants: Defendants incorporate the arguments raised in their Motion in
22
     Limine No. 2.      The Plaintiff has not established the necessary elements to
23
24
     demonstrate liability under either legal theory.

25                The following are the issues of law to be determined:

26         a.     Have each of the Defendants either infringed or contributed to the
27   infringement or are vicariously liable for infringement of Reilly’s Copyright?
28         Plaintiff: Each of the Defendants either infringed or contributed to the


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 1   infringement or are vicariously liable for infringement of Reilly’s Copyright.

 2         Defendants: Defendants assert that the Plaintiff has failed to establish and will
 3   be unable to establish at trial that the Defendants, and each of them, infringed on the
 4   Plaintiffs’ Copyrighted Work.
 5   E.    Witness List
 6         1.     Plaintiff’s Trial Witnesses
 7                a.     Plaintiff Ralph Reilly – Reilly is a fact witness who may be
 8   contacted through Plaintiff’s counsel. Reilly will testify to all allegations contained
 9   in the complaint.
10                b.     Defendant Steve Wozniak – Wozniak is a fact witness who may
11   be contacted through Defendants’ counsel. Wozniak will testify concerning the
12   issues raised in the complaint, his agreement(s) with the other defendants,
13   compensation received and Woz U.
14
                  c.     Ken Hardesty – Hardesty is a fact witness who may be contacted
15
     through Defendants’ counsel. Hardesty will testify concerning the issues raised in
16
     the complaint, his agreement(s) with the other defendants, compensation received
17
     and Woz U.
18
           2.     Defendants’ Witness List
19
           a. Jacob Mayhew – Mayhew is the CEO of WOZ U Education Holdings, LLC,
20
     and will testify concerning all issues raised in the Complaint. This witness is
21
     expected to testify regarding the formation of WozU, the process by which its
22
     website was created, the trademarks and copyrights obtained by WozU, and the
23
24
     relationship between the Defendants. Specifically, this witness is expected to testify

25   that the curriculum existed before the change in the name of the school from Coder

26   Camps to WozU. The WozU website and logo was created by an outside company
27   that was retained to assist in the branding and marketing of WozU. He will further
28   testify regarding the history and relationship between the entity defendants and their


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 1   predecessors.

 2         b. Ken Hardesty. Hardesty is a fact witness who will testify regarding his
 3   communications with the Plaintiff and Defendants concerning all issues in the
 4   Complaint. He is expected to testify regarding Wozniak’s agreement with WOZ U
 5   Education Holdings, LLC and Wozniak’s involvement in the operations of WOZ U,
 6   or more correctly, the lack thereof. He is expected to testify that Hardesty and
 7   Wozniak had no input in the creation of any curriculum, website or logo utilized by
 8   WOZ U, and that Wozniak has no relationship with SCI. Hardesty is expected to
 9   testify consistent with the deposition testimony given in this action.
10         c. Steve Wozniak – Wozniak is a fact witness that will testify that he hasn’t
11   spoken to anyone associated with SCI. He will further testify that he never viewed
12   the Plaintiff’s Copyrighted Work. He will testify that WOZ U approached him,
13   through Hardesty, to request a license to use his name and likeness in connection
14
     with their existing school. He is expected to testify consistent with the deposition
15
     testimony given in this action.
16
           d. Jennifer Rumbold– Ms. Rumbold is expected to testify regarding the
17
     Relationship between SCI and WOZ U Education Holdings, the facts surrounding
18
     the execution of the Master Services Agreement. This witness is expected to testify
19
     that SCI had no involvement in the creation of the website and logo utilized by
20
     WozU, and never received a copy of the Plaintiff’s Copyrighted Work and has no
21
     authority to direct the other entity Defendants.
22
           e. Matthew Hawes - Mr. Hawes may be called to testify at trial. Mr. Hawes
23
24
     will testify regarding the Relationship between SCI and WOZ U Education

25   Holdings, the facts surrounding the execution of the Master Services Agreement.

26   This witness is expected to testify that SCI had no involvement in the creation of the
27   website and logo utilized by WozU, and never received a copy of the Plaintiff’s
28   Copyrighted Work and has no authority to direct the other entity Defendants.


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 1         “Each party understands that it is responsible for ensuring that the witnesses

 2   it wishes to call to testify are subpoenaed. Each party further understands that any
 3   witness a party wishes to call must be listed on that party’s list of witnesses; the
 4   party cannot rely on the witness having been listed or subpoenaed by another party.”
 5   F.    Exhibit List
 6         1.    The following exhibits are admissible in evidence and may be
 7   marked in evidence by the Courtroom Deputy Clerk:
 8               a.        Plaintiff’s Exhibits:
 9                         (12) Website, Logo and/or Demo – MSJ Ex. H (RTR000047-
10                         RTR000058).
11                         (13) Copyright application(s) - MSJ Ex. I.
12                         (16) Copyright Registrations (RTR000079-RTR000084 and
13                         Copyright Registration TX8-663-405)
14
                 b.        Defendant’s Exhibits:
15
                           (17) Hardesty Email dated April 29, 2013 (RTR000089-91)
16
                           (18) Plaintiff’s undated email to Hardesty(RTR000099)
17
                           (19) Master Services Agreement with Southern Careers
18
                           Institute (WOZ00130-151)
19
                           (20) Bulbenko Imaging (WOZU00260-261)
20
                           (21) Getty Images (WOZ00262)
21
                           (22) Excel Spreadsheet (WOZU00095)
22
                           (23) Defendants’ Discovery Package Upon Plaintiff
23
24
                           (24) Plaintiff’s Responses to Defendants’ Discovery Package

25         2.    The parties have reached the following stipulations regarding the

26   following exhibits:
27               a.        Plaintiff’s Exhibits: All Exhibits stipulated as to authenticity.
28               All other objections set forth below.


                                                   8
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 1               b.     Defendants’ Exhibits: All Exhibits stipulated as to authenticity.

 2               All other objections set forth below.
 3         3.    The party against whom the following exhibits are offered objects to
 4   their admission as stated below:
 5               a.     Plaintiff’s Exhibits:
 6                      (1)   Plaintiff’s Complaint with all exhibits. Defendant
 7                      objects based upon hearsay, relevance and foundation.
 8                      (2)   License Agreement between Woz and WozU Education
 9                      Holdings (WOZU00222-00239). Defendant objects based upon
10                      hearsay, relevance and foundation.
11                      (3)   Operating Agreement for WozU Education Holdings –
12                      MSJ Ex. Q (WOZU00152-WOZU00221). Defendant objects
13                      based upon hearsay, relevance and foundation.
14
                        (4)   Operating Agreement for Andover Education, LLC
15
                        (WOZU00001-WOZU00056). Defendant objects based upon
16
                        hearsay, relevance and foundation.
17
                        (5)   Correspondence - MSJ Ex. A (RTR000016). Defendant
18
                        objects based upon hearsay, relevance and foundation.
19
                        (6)   Correspondence - MSJ Ex. B (RTR000018-RTR000019).
20
                        Defendant objects based upon hearsay, relevance and
21
                        foundation.
22
                        (7)   Charter Oak Agreement – MSJ Ex. C (RTR000021-
23
24
                        RTR000030). Defendant objects based upon hearsay, relevance

25                      and foundation.

26                      (8)   Photo of Wozniak and Reilly - MSJ Ex. D (RTR000032).
27                      Defendant objects based upon foundation and relevance.
28                      (9)   Correspondence - MSJ Ex. E (RTR000034). Defendant


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 1                        objects based upon hearsay, relevance and foundation.

 2                        (10) Apollo Deal - MSJ Ex. F (RTR000036-RTR000042).
 3                        Defendant objects based upon hearsay, relevance and
 4                        foundation.
 5                        (11) Apollo Deal 2 - MSJ Ex. G (RTR000044-RTR000045).
 6                        Defendant objects based upon hearsay, relevance and
 7                        foundation.
 8                        (14) WozU Education Holdings Financial Statements – MSJ
 9                        Ex. O (WOZU00096-WOZU00129). Defendant objects based
10                        upon hearsay, relevance and foundation. Defendant
11                        incorporates the arguments raised in the Defendants’ Motion in
12                        Limine No. 1.
13                        (15) Correspondence – MSJ Ex. P (RTR000085-RTR000099).
14
                          Defendant objects based upon hearsay, relevance and
15
                          foundation.
16
                   b.     Defendant’s Exhibits:
17
             4.    If there are more than 20 exhibits, the parties must email their exhibit
18
     lists    in   Word        format,    at   least   five   days    before     trial,   to
19
     liburdi_chambers@azd.uscourts.gov.
20
             5.    The offering party shall bring all marked exhibits the morning of trial.
21
             “Each party hereby acknowledges by signing this Joint Proposed Final
22
     Pretrial Order that any objections not specifically raised herein are waived.”
23
24
     G.      Depositions to be Offered

25           1.    Plaintiff

26                 A.     Deposition of Wozniak.
27                 B.     Deposition of Hardesty.
28                 C.     Deposition of Reilly.


                                                  10
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 1          2.     Defendants

 2                 A.      Plaintiff Reilly
 3   p.34, lines 15-22

 4   p.35, lines 1-5

 5   p.35, line 14 – p.36, line 22

 6   p.37, lines 2-11

 7   p.37, lines 18-24

 8   p.38, lines 3-9

 9   p.38, lines 15-18

10   p.43, lines 1-5

11   p.43, lines 14-20

12   p.45, lines 2-5

13   p.45, lines 11-14

14   p.45, lines 19-24

15   p.46, lines 6-10

16   p.46, lines 14-17

17   p.47. lines 2-6

18   p.47, line 24- p.48, line 7

19   p.48, lines 17-21

20   p.68, lines 6-12

21   p.75, lines 7-9, 24-25

22   p.76, lines 5-10

23          2. Defendant Wozniak
24   p.19, lines 16-20.
25
     p.20, lines 4-11
26
27   p.22, lines 16-20
28



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 1   p.26, lines 1-13

 2   p.26, line 25 – p. 27, line 9
 3    p.30, lines 9-13
 4         3. Ken Hardesty
 5
     p.9, lines 15-17
 6
 7   p.18, lines 15-21
 8
     p.26, lines 9-10
 9
10   p.34, lines 6-10
11   p.34, lines 17-20
12
     p.38, lines 2-5
13
14   p.39, lines 5-21
15
     p.39, lines 22-24
16
      p.40, lines 2-8
17
18
     H.    Motions in Limine (Jury Trial Only)
19
           1. Defendants’ Motion in Limine No. 1 Regarding Plaintiff’s Damages
20
           2. Defendants’ Motion in Limine No. 2 Regarding Contributory and
21
               Vicarious Copyright Infringement
22
23
     I.    Pending Motions

24         None, other than the pending Motions in Limine.

25   J.     Procedures for Expediting Trial
26         No proposals
27   K.     Estimated Length of Trial
28                4      hours for jury selection (if applicable);


                                                12
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 1                4    hours for opening statements and closing arguments;

 2                8    hours for Plaintiff’s case, including cross-exam of other parties’
 3                witnesses;
 4                8    hours for Defendants’ case, including cross-exam of other parties’
 5                witnesses;
 6                24   hours total.
 7   L.    Proposed Trial Dates
 8          June 7-9, 2021
 9   M.     Jury Demand
10         State whether a jury trial has been requested. If a jury trial has been
11   requested, indicate the appropriate selection:
12         1.      The parties stipulate that the demand for a jury trial was timely.
13   N.    Proposed Findings of Fact and Conclusions of Law (Bench Trial Only)
14
                  Not applicable.
15
     O.     Voir Dire, Jury Instructions, and Forms of Verdict (Jury Trial Only)
16
           The Parties Joint Proposed Jury Instructions, Joint Proposed Voir Dire and
17
     Forms of Verdict will be filed contemporaneously herewith.
18
     P.     Certifications
19
           Final Pretrial Order: “The undersigned counsel for each of the parties in
20
     this action do hereby certify and acknowledge the following: (1) All discovery has
21
     been completed; (2) The identity of each witness has been disclosed to opposing
22
     counsel; (3) Each exhibit listed herein is in existence, is numbered, and has been
23
24
     disclosed and shown to opposing counsel; (4) The parties have complied in all

25   respects with the mandates of the Court’s Rule 16 Scheduling Order and Order

26   Setting Final Pretrial Conference; (5) The parties have made all of the disclosures
27   required by the Federal Rules of Civil Procedure (unless otherwise previously
28



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 1   ordered to the contrary)1; and (6) The parties acknowledge that once this Joint

 2   Proposed Final Pretrial Order has been signed and lodged by the parties, no
 3   amendments to this Order can be made without leave of Court.”
 4
 5    /s/ Raymond J. Markovich                      /s/ Aaron M. Finter
 6
      Raymond J. Markovich                          Aaron M. Finter
      Attorney for Plaintiff                        Attorney for Defendants
 7
 8
            Based on the foregoing,
 9
     IT IS ORDERED that this Joint Proposed Final Pretrial Order jointly submitted
10
     by the parties is hereby APPROVED and ADOPTED as the Final Pretrial Order
11
     of this Court.
12
13
            Dated this               day of                  , 2021.
14
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27          1
              As set forth in the Motions in Limine filed in this action, The Defendants have
     asserted that the Plaintiff failed to disclose its damage calculations and legal theories for
28   contributory and vicarious copyright infringement.


                                                  14
